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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 HOUSTON HOME DIALYSIS, LP                       §
                   Plaintiff,                    §
                                                 §
 v.                                              §
                                                 §
 BLUE CROSS and BLUE SHIELD OF                   §         CIVIL ACTION NO. 4:17-cv-02095
 TEXAS, A DIVISION of HEALTH                     §
 CARE SERVICE CORPORATION, A                     §
 MUTUAL RESERVE COMPANY, and                     §
 HORIZION BLUE CROSS BLUE                        §
 SHIELD OF NEW JERSEY                            §
                                                 §
                          Defendants.            §

      PLAINTIFF HOUSTON HOME DIALYSIS, LP’S UNOPPOSED MOTION TO
      SEAL PLAINTIFF’S FIRST ORIGINAL COMPLAINT AND THE EXHIBITS
                           ATTACHED THERETO

       Plaintiff Houston Home Dialysis, LP (“Houston Home Dialysis”) files this Unopposed

Motion to Seal Plaintiff’s First Original Complaint and the Exhibits Attached Thereto. Houston

Home Dialysis requests that this Court permanently seal from its records Houston Home Dialysis’

original pleading in this case and the exhibits attached thereto because those documents contain

confidential patient information. Defendant Health Care Service Corporation, a Mutual Legal

Reserve Company that operates in Texas as Blue Cross and Blue Shield of Texas (“Texas Blue

Cross”), does not oppose the sealing of these documents.

       In support of this motion, Houston Home Dialysis shows the Court the following:

       1.      On July 8, 2017, Houston Home Dialysis filed its First Original Complaint in this

lawsuit. [Dkt. No. 1]. Houston Home Dialysis’ First Original Complaint and the exhibits attached

thereto contain confidential patient information, including the names of the four patients of Houston

Home Dialysis whose benefit claims were at issue in Houston Hone Dialysis’ First Original

Complaint, as well as the individual treatment records for those four patients.
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           2.       On November 1, 2017, Houston Home Dialysis filed its Unopposed Motion for

Substitution of Counsel seeking to substitute Earnest Wotring, David George, and Karen Dow of

Baker • Wotring LLP as attorneys of record in this case, in the place and stead of Paul V. Anderson

of Anderson PLLC. [Dkt. No. 8].

           3.       On November 2, 2017, this Court issued an Order granting Houston Home Dialysis’

Unopposed Motion for Substitution of Counsel. [Dkt. No. 9].

           4.       On December 21, 2017, Houston Home Dialysis filed its First Amended Complaint

and Request for Declaratory Judgment against Defendant Texas Blue Cross and newly-added

Defendant Horizon Blue Cross Blue Shield of New Jersey. [Dkt. No. 13]. Houston Home Dialysis’

amended pleading contains no confidential patient information, and there are no exhibits attached

to that pleading.

           5.       Although courts have recognized that the public has a common law right to inspect

and copy judicial records, the public’s common law right is not absolute.1 While the common law

right of access to judicial records is not absolute, “the district court’s discretion to seal the record

of judicial proceedings is to be exercised charily.”2 In exercising its discretion to seal judicial

records, the court must balance the public’s common law right of access against the interests

favoring nondisclosure.3

           6.       In this case, the protection of confidential patient information contained in Houston

Home Dialysis’ First Original Complaint and the exhibits attached thereto outweighs the right of

access the public may possess. Excluding Houston Home Dialysis’ First Original Complaint and



1
    S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993).
2
    Id. (quoting Fed. Sav, & Loan Ins. Corp. v. Blain, 808 F.2d 395, 399 (5th Cir. 1987)).
3
    Van Waeyenberghe, 990 F.2d at 848.


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the exhibits attached thereto from the public record protects the legitimate privacy rights of the

patients whose benefit claims were at issue in Houston Home Dialysis’ original pleading. In

addition, the protection of that confidential patient information is not injurious to the public.

       WHEREFORE, for all of the reasons set forth in this motion, Plaintiff Houston Home

Dialysis requests that this Court sign and enter an Order granting its Unopposed Motion to Seal

Houston Home Dialysis’ First Original Complaint and the Exhibits Attached Thereto, and further

permanently seal from the Court’s records Houston Home Dialysis’ First Original Complaint and

the exhibits attached thereto.



                                                       Respectfully submitted,

                                                       BAKER • WOTRING LLP

                                                       /s/ Earnest W. Wotring
                                                       Earnest W. Wotring
                                                       Attorney-in-Charge
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                                                       Southern District No. 15284
                                                       David George
                                                       Texas Bar No. 00793212
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                                                       HOUSTON HOME DIALYSIS, LP




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                             CERTIFICATE OF CONFERENCE

        I hereby certify that counsel for Plaintiff Houston Home Dialysis has conferred with counsel
for Defendant Blue Cross Texas, and Blue Cross Texas is unopposed to this Motion to Seal
Plaintiff’s First Original Complaint and the Exhibits Attached Thereto. Blue Cross Texas is further
unopposed to the permanent sealing from the Court’s records of Houston Home Dialysis’ First
Original Complaint at the exhibits attached thereto.


                                         /s/ Earnest W. Wotring


                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2018, a copy of the above Unopposed Motion to Seal
Plaintiff’s First Original Complaint and the Exhibits Attached Thereto was served on all counsel of
record via the Court’s electronic filing system.

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Attorneys for Texas Blue Cross


                                      /s/ Earnest W. Wotring
                                      Earnest W. Wotring




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